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                                                                   FILED: 8/24/07
                         IN THE UNITED STATES DISTRICT COURT   U.S. DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS  EASTERN   DISTRICT COURT
                                   SHERMAN DIVISION          DAVID J. MALAND, CLERK


 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §            CASE NO. 4:02cr88(7)
                                                  §
 DARRON AJARAL SHERFIELD                          §

 MEMORANDUM ADOPTING REPORT AND RECOMMENDATION OF THE UNITED
                  STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for modification of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration as well as the Defendant’s objections thereto. Having

 made a de novo review of the objections raised by the Defendant to the report, the Court is of the

 opinion that the findings and conclusions of the Magistrate Judge are correct and the objections of

 the Defendant are without merit. Therefore, the Court hereby adopts the findings and conclusions

 of the Magistrate Judge as the findings and conclusions of the Court. It is, therefore,

        ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion of the Court.

        It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

        It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of eleven (11) months, with forty-nine (49) months of supervised release

 to follow.

 .
  Hello This is a Test
        SIGNED this ______
                      24              August
                           day of ________________, 2007.



                                                       _______________________________
                                                       RICHARD A. SCHELL
                                                       UNITED STATES DISTRICT JUDGE
